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ATTORNEY FOR PLAINTIFF



                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO


INTERMOUNTAIN FAIR HOUSING          )
COUNCIL, INC.,                      )                             11-203
                                                    CASE NO. CV __________________
                                    )
       Plaintiff,                   )               VERIFIED COMPLAINT AND
                                    )               DEMAND FOR JURY TRIAL
vs.                                 )
                                    )
ROOFTOP REAL ESTATE                 )
MANAGEMENT, INC., MARTIN C.         )
GREALISH, TERI L. GREALISH,         )
and H. PAUL HEYDE,                  )
                                    )
       Defendants.                  )
____________________________________)

       COMES NOW the Plaintiff Intermountain Fair Housing Council, Inc. and for a cause of

action against the Defendants Rooftop Real Estate Management, Inc., Martin C. Grealish, Teri L.

Grealish, and H. Paul Heyde, states and alleges as follows:




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                                   NATURE OF THE ACTION

       1. This is an action brought by the above-named Plaintiff for declaratory judgment,

permanent injunctive relief and damages on the following bases:

           a. Fair Housing Act, 42 U.S.C. §3601 et seq. (hereinafter “FHA”), and in particular:

               i. Discrimination in the sale or rental, or otherwise made unavailable, a dwelling

       because of “handicap”, 42 U.S.C. §3604(f);

               ii. Discriminatory terms, conditions or privileges in the sale or rental of a

       dwelling because of “handicap”, 42 U.S.C. §3604(f);

               iii. Refusal to make reasonable accommodations in rules, policies, practices, or

       services, when such accommodations may be necessary to afford a person equal

       opportunity to use and enjoy a dwelling, 42 U.S.C. §3604(f);

               iv. Making, printing or publishing a notice or statement with respect to the sale or

       rental of a dwelling that indicates a preference, limitation or discrimination based on

       “handicap”, 42 U.S.C. §3604(c); and

               v. Interference, coercion or intimidation, 42 U.S.C. §3617.

       b. Fair Housing Regulations, 24 C.F.R. §100 et seq.

       c. Negligence.

                                 JURISDICTION AND VENUE

       2. This Court has jurisdiction over this action pursuant to 42 U.S.C. §3613 and

28 U.S.C. §§1331, 1332, 1337, 1343, 1367 and 2201. The amount in controversy exceeds

$75,000 exclusive of interests and costs. Venue is proper in this District in that the claims

alleged herein arose in the City of Chubbuck, County of Bannock, State of Idaho and the City of

Ammon, County of Bonneville, State of Idaho.

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                                              PARTIES

       3. The Plaintiff Intermountain Fair Housing Council, Inc. (hereinafter “Plaintiff” or

“IFHC”) is a private, nonprofit organization organized under the laws of the State of Idaho with

its principal place of business at 350 North 9th Street, Suite M-100, Boise, Idaho 83702. Its

mission is to advance equal access to housing for all persons without regard to race, color, sex,

religion, national origin, familial status, or disability (the term “handicap”, as that term is used

and defined in the FHA, is used herein interchangeably with the term “disability”). The Plaintiff

serves housing consumers through, among other things, education on the fair housing laws and

assistance with complaints.

       4. The Defendant Rooftop Real Estate Management, Inc. (hereinafter “Defendant

Rooftop”), is a business organized under the laws and doing business in the State of Idaho. Its

principal place of business is 3456 East 17th Street, Suite 210, Ammon, Idaho 83406. The

Defendant Rooftop is the property management company with regards to 442 Raven Way,

Apartment B, Chubbuck, Idaho 83202 (hereinafter “Raven Way Property”), an apartment in a

multifamily building located in Chubbuck, Idaho. The Defendant Rooftop is also the property

management company with regards to 1515 Stevens Street, Ammon, Idaho 83401 (hereinafter

“Stevens Street Property”), a townhouse located in Ammon, Idaho. At all times material hereto,

the Defendant Rooftop acted as the agent for the Defendant Martin C. Grealish, the Defendant

Teri L. Grealish, and the Defendant H. Paul Heyde.

       5. The Defendants Martin C. Grealish and Teri L. Grealish (hereinafter “Defendants

Grealish”) are the owners of record of the Raven Way Property, according to the official records

of the Bannock County Assessor’s Office. The official records indicate that said Defendants

reside at 44 Coronado Avenue, San Carlos, California 94070.

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       6. The Defendant H. Paul Heyde (hereinafter “Defendant Heyde”) is the owner of record

of the Stevens Street Property, according to the official records of the Bonneville County

Assessor’s Office. The official records indicate that said Defendant resides at 311 Alder Street,

Arroyo Grande, California 93420.

                                   STANDING OF PLAINTIFF

       7. The Plaintiff has suffered damages as the result of the Defendants’ actions and

omissions, including the diversion of the Plaintiff’s past and future resources, lost economic

opportunity, and the frustration of the Plaintiff’s mission.

       8. The Plaintiff’s mission, as described above, has been frustrated by the Defendants’

practices because the Defendants’ violations of the FHA communicate to housing consumers and

housing providers that discriminatory practices are permissible and that correctional remedies are

not available, thereby hampering Plaintiff’s efforts to educate the public on fair housing issues

and to advance equal access to housing.

       9. The Plaintiff’s mission has further been frustrated as the Defendants’ violations of the

FHA have reduced the pool of non-discriminatory rental housing available to tenants in the State

of Idaho.

       10. In order to counteract the frustration of the Plaintiff’s mission, the Plaintiff has had to

devote significant resources to identify, investigate, document and take action to correct the

Defendants’ violations of the FHA, including but not limited to the incursion of litigation

expenses. As a result, the Plaintiff has actually diverted resources from other fair housing-

related activities, including fair housing education and enforcement activities throughout the

State of Idaho and the surrounding region. Furthermore, the Plaintiff will necessarily incur

additional expenses in the future to counteract the lingering effects of the Defendants’ violations

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of the FHA through the monitoring of the Defendants’ activities, publication and advertising

costs, and the sponsorship of educational activities.

       11. As a direct result of the Defendants’ actions and omissions as described below, the

Plaintiff is an “aggrieved person”, as that term is defined by the FHA. 42 U.S.C. §3601(i). The

Plaintiff has suffered and continues to suffer significant and irreparable loss and injury, and has

sufficient standing to bring this action before this Court.

       12. Furthermore, at least one of the Plaintiff’s members would have standing to sue in

their own right, the interests the suit seeks to vindicate are germane to the organization’s

purpose, and neither the claim asserted nor the relief requested requires the participation of

individual members in the lawsuit. The mission of the Plaintiff, as described above, expresses

the collective views and protects the collective interests of its members and the primary reason

that the Plaintiff’s members have joined is to create an effective vehicle for vindicating interests

that they share with others. Therefore, the Plaintiff also has associational or representational

standing to bring this action before this Court.

                                   GENERAL ALLEGATIONS

       13. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-12 above.

       14. The Plaintiff conducted telephonic testing of the Defendant Rooftop on or about

October 15 and 16, 2009 with regards to an advertisement for an available rental property.

During the course of said testing, the Defendant Rooftop indicated that it charges a $250.00

deposit on service animals.

       15. R.A. is handicapped, as that term is defined at 42 U.S.C. §3602(h). As a result of

R.A.’s handicap, she requires the assistance of a service animal. R.A.’s service animal is a dog.

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       16. On or about the 7th day of October, 2008, R.A. entered into a lease agreement with

the Defendant Rooftop to rent the Raven Way Property. At all times material hereto with

regards to the Raven Way Property, the Defendant Rooftop was acting as the agent for the

Defendants Grealish.

       17. On or about the 27th day of July, 2009, R.A. acquired a service animal to assist with

her disability, which was approved by the Defendant Rooftop’s on-site property manager with

regards to the Raven Way Property.

       18. On or about the 20th day of March, 2010, the Defendant Rooftop’s on-site property

manager informed R.A. that she was leaving her position and that the new on-site property

manager was not going to allow R.A. to keep her service animal. R.A. obtained a note from her

treating physician dated the 7th day of April, 2010 verifying the need for the service animal.

       19. R.A. received a lease termination notice from Thekla Schenk, the Defendant

Rooftop’s new on-site property manager, dated the 20th day of April, 2010. Said notice stated

that Defendant Rooftop is terminating R.A.’s lease as the result of the presence of her dog.

       20. As a result of the lease termination notice received from the Defendant Rooftop’s on-

site property manager, R.A. relocated her service animal to another residence located elsewhere

and R.A. was therefore denied the use of her service animal for several months.

       21. At all times material hereto, Thekla Schenk was acting as the agent for the Defendant

Rooftop and the Defendants Grealish.

       22. In response to the lease termination notice, R.A. submitted to the Defendant Rooftop

a reasonable accommodation request, which included a letter from her treating physician

verifying the need for the service animal dated the 7th day of April, 2010.



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       23. R.A. received a letter dated the 22nd day of June, 2009 from Jonathan W. Harris, the

attorney for the Defendant Rooftop. Said letter stated that “[a]t this time your request for an

accommodation is denied pending investigation to gather additional and more specific

information.” Said letter directed R.A. to “provide a more detailed explanation of your alleged

disability. . . . To that end please provide medical or counseling records which you believe

support your position.” Said letter also required R.A. to provide details concerning the training

of her service animal. Finally, said letter stated that “[u]pon receiving the information my clients

will make a final decision about whether to grant your request for accommodation.”

       24. At all times material hereto, Jonathan W. Harris was acting as the agent for the

Defendant Rooftop and the Defendants Grealish.

       25. R.A. submitted a letter to Mr. Harris dated the 30th day of June, 2010 containing

details concerning the characteristics of the service animal and how she intends to care of the

service animal.

       26. Mr. Harris sent a letter to R.A. dated the 8th day of July, 2010 approving R.A.’s

request for a reasonable accommodation to have the service animal. However, the Defendant

Rooftop and the Defendants Grealish imposed a deposit on the animal in the amount of $250.00.

As a result of such requirement, which does not comply with the FHA, R.A. was denied a

reasonable accommodation.

       27. On or about the 8th day of July, 2010, R.A. filed a complaint with the Plaintiff

regarding the deposit on her service animal required by the Defendant Rooftop and the

Defendants Grealish, and the denial of her request for a reasonable accommodation.

       28. As the result of the complaint filed by R.A., the Plaintiff began an investigation of

this matter.

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       29. T.T. is handicapped, as that term is defined at 42 U.S.C. §3602(h). As a result of

T.T.’s handicap, she requires the assistance of a service animal. T.T.’s service animal is a dog.

       30. On or about the 20th day of February, 2011, T.T. applied for the rental of the Stevens

Street Property with the Defendant Rooftop. At all times material hereto with regards to the

Stevens Street Property, Defendant Rooftop was acting as the agent for the Defendant Heyde.

       31. Upon application for the Stevens Street Property, T.T. paid a $100.00 deposit for said

property. T.T. informed the agent for the Defendant Rooftop that she has a service animal

prescribed by her treating physician. The agent for the Defendant Rooftop told T.T. that “they

do not accept therapy dogs” and that service animals must be trained and licensed. As the result

of such requirements, which do not comply with the FHA, T.T. was denied a reasonable

accommodation.

       32. On or about the 21st day of February, 2011, T.T. returned to the office of the

Defendant Rooftop and informed the agent that she could not reside at the Stevens Street

Property because of the Defendant Rooftop’s training requirements for service animals. The

Defendant Rooftop refused to refund the $100.00 deposit that had been paid by T.T.

       33. On or about the 7th day of March, 2011, T.T. filed a complaint with the Plaintiff

regarding the service animal training requirements imposed by the Defendant Rooftop and the

denial of her request for a reasonable accommodation.

       34. As the result of the complaint filed by T.T., the Plaintiff began an investigation of

this matter.

       35. The Plaintiff and T.T. filed administrative complaints with the United States

Department of Housing and Urban Development (hereinafter “HUD”) pursuant to 42 U.S.C.

§3610. Said administrative complaints currently remain pending with HUD.

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       36. Neither the Secretary of HUD, a state agency nor a local agency have obtained a

conciliation agreement with the consent of any of the aggrieved persons at issue herein.

Furthermore, no administrative law judge has commenced a hearing on the record pursuant to the

FHA with respect to any matter at issue herein.

       37. Due to the ongoing nature of the Defendants’ conduct, said conduct constitutes a

continuing violation.

COUNT ONE—DISCRIMINATION ON THE BASIS OF “HANDICAP” IN VIOLATION OF
      THE FAIR HOUSING ACT AND ITS IMPLEMENTING REGULATIONS

       38. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-37 above.

       39. The Defendants have discriminated in the sale or rental of, and otherwise made

unavailable and denied, a dwelling on the basis of “handicap”. 42 U.S.C. §3604(f)(1).

       40. The Defendants have discriminated in the terms, conditions and privileges of the sale

or rental of a dwelling, and the services and facilities in connection therewith, on the basis of

“handicap”. 42 U.S.C. §3604(f)(2).

       41. The Defendants have refused to make reasonable accommodations in rules, policies,

practices, or services, when such accommodations may be necessary to afford R.A. and T.T.

equal opportunity to use and enjoy a dwelling. 42 U.S.C. §3604(f)(3)(B).

       42. The Defendants made, printed or published a notice or statement with respect to the

sale or rental of a dwelling that indicates a preference, limitation or discrimination based on

“handicap”. 42 U.S.C. §3604(c).

       43. The Defendants have engaged in interference in the exercise or enjoyment of rights

granted the victims by 42 U.S.C. §§3603 and 3604. 42 U.S.C. §3617.


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        44. Such conduct is willful and intentional, and exhibits reckless or callous indifference

for the rights of the victims.

                                 COUNT TWO—NEGLIGENCE

        45. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-44 above.

        46. The Defendants owed a duty of care to use reasonable care to avoid injury and to

prevent unreasonable, foreseeable risks of harm to the Plaintiff, R.A. and T.T.

        47. It could have been reasonably anticipated or foreseen by the Defendants that their

failure to use reasonable care might result in injury to the Plaintiff, R.A. and T.T.

        48. The Defendants were negligent in that they failed to use reasonable care to avoid

injury and to prevent unreasonable, foreseeable risks of harm to the Plaintiff, R.A. and T.T. by

failing to adequately train and supervise its agents and employees with regards to the

requirements of the Fair Housing Act, 42 U.S.C. §3601 et seq., as well as its implementing

regulations provided at 24 C.F.R. §100 et seq.

                                            DAMAGES

        49. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-48 above.

        50. As the result of the actions and conduct of the Defendants, as described above, the

Plaintiff has suffered significant and irreparable loss and injury.

        51. The Plaintiff is an “aggrieved person[s]”, as defined in 42 U.S.C. §3601(i), and is an

intended beneficiary of the protections and requirements of the statutes, laws and regulations

referenced above.



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       52. The Plaintiff has suffered actual damages as a result of its out-of-pocket expenses

and past diversion of its resources, as described above and in the attached “Appendix A”, in the

amount of $15,374.84, which continue to accrue.

       53. The Plaintiff has suffered actual damages as a result of the necessary future diversion

of its resources, as described above and in the attached “Appendix A”, in the amount of

$10,000.00.

       54. The Plaintiff has suffered actual damages as a result of lost economic opportunity, as

described above and in the attached “Appendix A”, in the amount of $1,000.00.

       55. The Plaintiff has suffered actual damages as a result of the frustration of its mission,

as described above and in the attached “Appendix A”, in the amount of $15,374.84.

       56. In addition to the injuries suffered by the Plaintiff, the Defendants have also caused

significant and irreparable loss and injury to a number of identified and as-of-yet unidentified

persons, including R.A. and T.T.

       57. Said victims are “aggrieved person[s]”, as defined in 42 U.S.C. §3601(i), and are

intended beneficiaries of the protections and requirements of the statutes, laws and regulations

referenced above.

       58. All victims of the Defendants’ actions and conduct should be identified and

compensated through a Victims’ Compensation Fund.

       59. A Victims’ Compensation Fund should be established in an amount to be determined

to adequately compensate identified and as-of-yet unidentified victims of the Defendants’

discriminatory conduct, as described in the attached “Appendix B”, from which such victims

should be compensated. Said Victims’ Compensation Fund should be established and

administered as follows:

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       a. The Plaintiff shall be assigned the task of managing and administering the

          Victims’ Compensation Fund. The Plaintiff shall be compensated for all time

          spent administering said Fund at the rate of $45.88 per hour. The Plaintiff shall

          keep detailed records of all tasks engaged in and shall submit copies of said

          records to the Court and the Defendants on a monthly basis.

       b. Within thirty (30) days of the entry of an order by this Court creating a Victims’

          Compensation Fund, the Defendants shall deposit in an interest-bearing escrow

          account the total sum as determined by applying the calculation set forth in the

          attached Appendix B.

       c. Any interest accruing to such Victims’ Compensation Fund shall become a part of

          the fund and be utilized as set forth herein.

       d. Within fifteen (15) days after the Defendants deposit funds in the Victims’

          Compensation Fund, the Plaintiff shall publish a Notice to Potential Victims of

          Housing Discrimination (hereinafter “Notice”) in at least five daily newspapers

          serving the main population centers of the State of Idaho informing readers of the

          availability of compensatory funds. The form and content of the Notice shall be

          approved by the Court at the time of the entry of the Court’s order establishing the

          Victims’ Compensation Fund. The Notice shall be no smaller than three columns

          by six inches and shall be published on three occasions in each newspaper. The

          publication dates shall be separated from one another by at least 21 days, and at

          least two of the publication dates shall be a Sunday. The Plaintiff shall send a

          copy of the Notice prior to each and every publication date to each of the

          following organizations: (1) Living Independent Network Corp. (LINC), 2500

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          Kootenai Street, Boise, Idaho 83705; (2) Co-Ad, Inc., 4477 Emerald Street, Suite

          B-100, Boise, Idaho 83706; Disability Action Center, 124 East Third Street,

          Moscow, Idaho 83843; and (4) Living Independently for Everyone (LIFE), P.O.

          Box 4185, 640 Pershing Avenue, Suite 7, Pocatello, Idaho 83201.

       e. Within thirty (30) days of the entry of an order by this Court creating a Victims’

          Compensation Fund, the Plaintiff shall send by first-class mail, postage prepaid, a

          copy of the Notice to each tenant who currently resides or who resided at any time

          at the subject property.

       f. Nothing in this section shall preclude the Plaintiff from making its own additional

          efforts at its own expense to locate and provide notice to potentially aggrieved

          persons.

       g. Allegedly aggrieved persons shall have one hundred-twenty (120) days from the

          date of the entry of an order by this Court creating a Victims’ Compensation Fund

          to contact the Plaintiff in response to the Notice. The Plaintiff shall investigate

          the claims of allegedly aggrieved persons and, within one hundred-eighty (180)

          days from the entry of an order by this Court creating a Victims’ Compensation

          Fund, shall make a preliminary determination of which persons are aggrieved and

          an appropriate amount of damages that should be paid to each such persons. The

          Plaintiff will inform the Defendants in writing of its preliminary determinations,

          together with a copy of a sworn declaration from each aggrieved person setting

          forth the factual basis of the claim. The Defendants shall have fourteen (14) days

          to review the declaration and to provide to the Plaintiff any documents or

          information that it believes may refute the claim.

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       h. After receiving the Defendants’ refutation, if any, the Plaintiff shall submit its

          final recommendations to the Court for approval, together with a copy of the

          declarations and any additional information submitted by the Defendants. When

          the Court issues an order approving or changing the Plaintiff’s proposed

          distribution of funds for aggrieved persons, the Defendants shall, within ten (10)

          days of the Court’s order, deliver to the Plaintiff checks payable to the aggrieved

          persons in the amounts approved by the Court. In no event shall the aggregate of

          all such checks exceed the sum of the Victims’ Compensation Fund, including

          accrued interest and after deducting compensation to the Plaintiff as described

          above. No aggrieved persons shall be paid until he or she has executed and

          delivered to counsel for the Plaintiff a signed and notarized statement releasing

          the Defendants from all claims related to the subject property.

       i. In the event that less than the total amount in the fund including interest is

          distributed to aggrieved persons, the remaining funds shall be submitted to an

          education fund to be drawn upon by the Plaintiff and other non-profit

          organizations for purposes of educating housing consumers and providers on the

          requirements of the Fair Housing Act. Said education fund shall be administered

          by Idaho Legal Aid Services, Inc..

       j. The Defendants shall permit the Plaintiff, upon reasonable notice, to review any

          records that may facilitate its determinations regarding the claims of allegedly

          aggrieved persons.




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       60. The Court should award to the Plaintiff and against the Defendants punitive damages

due to the intentional and willful nature of the Defendants’ conduct in an amount to be

determined by the Court.

       61. The Court should enjoin the Defendants, their officers, employees, agents,

successors, and all other persons in active concert or participation with said Defendants, from

failing or refusing to comply with all requirements of the FHA and its implementing regulations.

       62. The Court should award to the Plaintiff and against the Defendants reasonable

attorney’s fees and costs incurred in this action, as provided for by statute and court rule.

       63. The Defendants should be held jointly and severally liable for any and all damages,

including an award of attorney’s fees and costs, awarded in this proceeding.

                                      PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff Intermountain Fair Housing Council, Inc. prays that the

Court enter judgment against the Defendants as follows:

       A. That the Court find and declare that the actions of the Defendants constitute violations

of the Fair Housing Act;

       B. That the Court award to the Plaintiff and against the Defendants actual damages in

compensation for its out-of-pocket expenses and past diversion of resources in the amount of

$15,374.84, which continue to accrue;

       C. That the Court award to the Plaintiff and against the Defendants actual damages in

compensation for the necessary future diversion of the Plaintiff’s resources in the amount of

$10,000.00;

       D. That the Court award to the Plaintiff and against the Defendants actual damages in

compensation for the Plaintiff’s lost economic opportunity in the amount of $1,000.00;

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        E. That the Court award to the Plaintiff and against the Defendants actual damages in

compensation for the frustration of the Plaintiff’s mission in the amount of $15,374.84;

        F. That the Court enter an order establishing a Victims’ Compensation Fund an amount

to be determined by applying the calculation set forth in the attached Appendix B and to be

administered according to the terms set forth in Paragraph 59 above;

        G. That the Court award to the Plaintiff and against the Defendants punitive damages

due to the reckless or callous nature of the Defendant’s conduct in an amount to be determined

by the Court;

        H. That the Court enjoin the Defendants, their officers, employees, agents, successors,

and all other persons in active concert or participation with said Defendants, from failing or

refusing to comply with all requirements of the FHA and its implementing regulations;

        I. That the Court award to the Plaintiff and against the Defendants reasonable attorney’s

fees and costs incurred in this action;

        J. That the Defendants be held jointly and severally liable for any and all damages,

including an award of attorneys fees and costs, awarded in this proceeding; and

        K. That the Court order any further and additional relief as the interests of justice may

require.

                                          JURY DEMAND

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, the Plaintiff demands a

trial by jury on all issues.
                    6th day of ___________________________,
        DATED this _______         May                      2011.

                                                              /s/
                                              __________________________________________
                                              KEN NAGY
                                              ATTORNEY FOR PLAINTIFF
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                                                                                       Attorney at Law
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       RICHARD MABBUTT, being first duly sworn on his oath, deposes and says:

        I am the Executive Director of the Intermountain Fair Housing Council, Inc., the Plaintiff
herein, that I have read the foregoing document, know well the contents thereof, and that the
facts therein stated are true to the best of my knowledge and belief.

                                                             /s/
                                             __________________________________________
                                             RICHARD MABBUTT


STATE OF I D A H O    )
                      : ss
            Ada
County of ___________ )

                       Tory Pearse
                I, __________________________________________,        a Notary Public for said
                                         6th day of ______________________________,
state, does hereby certify that on the _______            May                               2011,
personally appeared before me RICHARD MABBUTT, Executive Director of the Intermountain
Fair Housing Council, Inc., who, being by me first duly sworn, declared that he signed the
foregoing document as such, and that the statements therein contained are true and accurate as he
verily believes.

      SEAL
   Tory Pearse
  Notary Public                                                  /s/
                                             __________________________________________
  State of Idaho                                                                    Idaho
                                             Notary Public in and for the State of ____________
                                                           Boise, Idaho
                                             Residing at: _______________________________
                                             My commission expires: _____________________
                                                                        12/28/13




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                                                                                      Attorney at Law
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                                           APPENDIX A:

                       PLAINTIFF’S MEMORANDUM OF DAMAGES


        The Plaintiff Intermountain Fair Housing Council, Inc. (hereinafter “Plaintiff”) has

identified four categories of damages that it has suffered as the result of the Defendants’ failure

to comply with the FHA. These categories are: (1) Past Diversion of Resources; (2) Future

Diversion of Resources; (3) Lost Economic Opportunity; and (4) Frustration of Mission. Each of

these categories of damages have been recognized and awarded by various courts to

organizational plaintiffs in previous fair housing cases. 1

        The following represents an itemization of the Plaintiff’s damages:

        1. Out-of-Pocket Expenses and Past Diversion of Resources

        The Plaintiff has incurred significant pre-litigation expenses as a result of the Defendants’

discriminatory actions, which are constituted by its out-of-pocket expenses and its past diversion

of resources. The Plaintiff has sponsored training workshops in the Defendants’ geographic

area, and has engaged in site monitoring, investigation, complaint preparation, counseling and

        1
         See, Southern Cal. Housing Rights Center v. Krug, 564 F.Supp.2d 1138 (Cent. Dist. Cal.
2007) (fair housing organization awarded $6,590.80 for diversion of resources and $29,065.32
for frustration of mission), Fair Housing of Marin v. Combs, 285 F.3d 899 (9th Cir. 2002) (fair
housing organization awarded $14,217.00 for the diversion of resources); HUD v. Perland, Fair
Housing-Fair Lending Rptr. ¶25,136 (HUD ALJ 1998) (fair housing organization awarded
$4,516 for the diversion of resources and $1,400 for the costs of future monitoring of the
defendants); Ragin v. Harry Macklowe Real Estate Co., 801 F.Supp. 1213, aff’d in pertinent
part, 908 F.3d 898 (2nd Cir. 1993) (fair housing organization awarded $20,000 for the diversion
of resources); HUD v. Jancik, Fair Housing-Fair Lending Rptr. ¶25,058 (HUD ALJ 1993) (fair
housing organization awarded $13,386 for the diversion of past and future resources and $9,000
for the financial opportunity lost as a result of the investigation and litigation of the case); City of
Chicago v. Matchmaker Real Estate Sales Center, Inc., 982 F.2d 1086 (7th Cir. 1992) (fair
housing organization awarded $16,500 for out-of-pocket expenses and costs of future monitoring
and training); Saunders v. General Services Corp., 659 F.Supp. 1042 (E.D. Va. 1987) (fair
housing organization awarded $2,300 for the diversion of resources and $10,000 for the
frustration of its equal housing mission).

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other activities with regards to this matter. As a result of these activities, it has incurred

expenses as follows:

        a. Investigation and Counseling Costs:                                  $1,929.85

        b. Educational efforts:                                                 $11,000.00

        c. Cost of Deferred Actions:                                            $1,182.99

        d. Litigation costs and fees (to date):                                 $1,262.00

                                        Total Past Diversion of Resources: $15,374.84
        Further litigation of these matters will result in an increase in the Plaintiff’s diversion of

resources, as well as other damages.

        2. Future Diversion of Resources

        The Plaintiff has an affirmative duty to ensure the Defendants’ ongoing compliance with

the FHA, with regards to both the subject property as well as any future developments in which

the Defendants may participate. Such monitoring activities include site visits, training of

Defendants and their employees and agents, counseling of victims, and testing.

        The Plaintiff expects to incur the following expenses as a result of the current violations:

        a. Future Advertising Costs:                                            $5,000.00

        b. Cost of future training:                                             $2,000.00

        c. Costs of Future Monitoring/Testing:                                  $3,000.00

                                Total Future Diversion of Resources:            $10,000.00

        3. Lost Economic Opportunity

        Vigorous investigation and enforcement of fair housing complaints, including the

property at issue herein, has caused the Plaintiff to divert limited resources and manpower away

from grant-writing activities. The Plaintiff could reasonably expect to have obtained funding to


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sponsor fair housing training events in the amount of $1,000.00 if it had not been so diverted due

to the Defendants’ actions

       a. Loss of Funding:                                                      $1,000.00

       4. Frustration of Mission

       The investigation of the subject of this complaint, the counseling and training provided to

the community, and the preparation of the administrative complaint have caused the Plaintiff to

divert significant resources toward this proceeding and has undermined the work of furthering

fair housing in the state of Idaho.

       As a direct result of the Defendants’ discriminatory actions, the Plaintiff’s mission of

furthering fair housing has been significantly frustrated, and the Plaintiff has had to devote, and

will continue to devote, additional resources in order to counteract the past and ongoing effects

of this discrimination.

       Furthermore, the property at issue in this proceeding has constituted a formidable barrier

to non-discriminatory housing, thereby undermining the mission of the Plaintiff in guaranteeing

fair housing to all residents of the state. The Plaintiff has determined that it will be necessary to

educate housing consumers regarding fair housing requirements in order to counteract the effects

of the Defendants’ failure to comply with the FHA.

       The Plaintiff measures the damage to its frustration as the total monetary damages that

the Defendants’ actions have cost to correct, including lost funding opportunities.

       a. Frustration of Mission                                              $15,374.84




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                                    TOTAL DAMAGES

     The Plaintiff calculates its total damages in this proceeding as follows:

     1. Out-of Pocket Expenses and Past Diversion of Resources:           $15,374.84

     2. Future Diversion of Resources:                                    $10,000.00

     3. Lost Economic Opportunity:                                        $1,000.00

     4. Frustration of Mission:                                           $15,374.84

                                                   Total Damages:         $41,749.68




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                                          APPENDIX B:

                 CALCULATION OF VICTIMS’ COMPENSATION FUND


       I. INTRODUCTION

       In addition to the damages incurred by the Plaintiff Intermountain Fair Housing Council,

Inc. (hereinafter “Plaintiff”), a number identified and of as-of-yet unidentified victims have also

suffered damages as the result of the Defendants’ discriminatory actions. In furtherance of the

Plaintiff’s mission, a Victims’ Compensation Fund should be created in order to identify and

obtain adequate compensation for such victims.

       The Federal District Court for the District of Idaho has frequently ordered the

establishment of a Victims’ Compensation Fund in previous actions brought pursuant to the Fair

Housing Act. See, United States of America and Intermountain Fair Housing Council v. Stealth

Investment, LLC, et al., Case No. CV 07-500-E-EJL (Consent Decree entered May 29, 2008

establishing Victims’ Compensation Fund in the amount of $12,500.00); United States of

America v. Taigen & Sons, Inc., et al., Case No. CV 01-337-N-EJL (Consent Order entered July

18, 2006 establishing Victims’ Compensation Fund in the amount of $55,000.00); United States

of America v. Thomas Development Co., et al., Case No. CV 02-68-C-EJL (Consent Order

entered March 11, 2005 establishing Victims’ Compensation Fund in the amount of

$100,000.00); United States of America v. S-Sixteen Ltd. Partnership, Case No. CV 03-154-S-

BLW (Consent Order entered March 14, 2005 establishing Victims’ Compensation Fund in the

amount of $40,000.00); United States of America v. Pacific Northwest Electric, Inc., et al., Case

No. Civil No. 01-19-S-BLW (Consent Decree entered October 21, 2003 establishing Victims’

Compensation Fund in the amount of $29,000.00); United States of America v. Virginia L.

Vanderpool, et al., Case No. CIV 01-78-S-BLW (Consent Order entered April 27, 2002
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DEMAND FOR JURY TRIAL                                                            KEN NAGY
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establishing Victims’ Compensation Fund in the amount of $30,000.00); United States of

America, et al., v. Duane B. Hagadone, et al., Case No. CV 97-603-N-RHW (Consent Order

entered July 6, 1999 establishing Victims’ Compensation Fund in the amount of $30,000.00).

       Said orders, however, do not contain a description of how the amount of such a fund was

calculated. The Victims’ Compensation Fund that should be ordered herein should be calculated

according to the underlying principles and using the applicable figures set forth below.

       II. UNDERLYING PRINCIPLES

       A. The number of units that are managed by the Defendants is currently unknown.

       B. The number of months that the Defendants has managed property that is subject to the

requirements of the Fair Housing Act is currently unknown.

       C. On average, each of the units could be expected to be rented to a new tenant every

twelve months.

       D. The U.S. Census Bureau Population Survey of 2000 indicates that, for the state of

Idaho, persons (age 5+) with a disability comprised 13.0% of the population.

       E. The amount of damages awarded to victims of disability discrimination in violation of

the Fair Housing Act has been $10,000.00 or more.

       F. The Plaintiff is the organization best equipped and situated to administer the fund.

       G. The Plaintiff should be compensated at its operational rate of $45.88 per hour in the

administration of the fund.

       H. The number of hours that it will take to administer the fund and complete

compensation of victims can reasonably be expected to be three hours per identified victim.

       I. Administration of the fund will result in the incursion of out-of-pocket expenses, such

as advertising and travel costs, in the amount of $1,000.00 per identified victim.

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       III. CALCULATION OF AMOUNT OF VICTIMS’ COMPENSATION FUND

       The total amount of the Victims' Compensation Fund should be calculated as follows:

       1. Step One: Estimated Compensation for Victims. The amount of funds that can

reasonably be expected to be necessary to compensate victims of discrimination by the

Defendants, as they become identified, should be calculated as follows:

       First, the total number of months that the Defendants have managed the subject property

is divided by the estimated average duration of tenancy in months, and multiplied by the total

number of units at the subject property. This represents the total number of tenants or applicants

at the subject property over the relevant time period.

       Second, the above product is multiplied by 13.0% to determine the number of tenants or

applicants who faced discrimination based on disability.

       Third, the sum from the calculation described above is multiplied by a reasonable damage

award to each Victim (which is $10,000), arriving at the total estimated compensation for

Victims.

       2. Step Two: Estimated Compensation for the Fund Administrator. The amount of funds

that can reasonably be expected to be necessary to compensate the fund administrator for work

performed in administering the Victim's Compensation Fund should be calculated as follows:

       The estimated total number of Victims (as calculated in Step One above) is multiplied by

the number of hours necessary to administer the fund per identified Victim (which is 3), times

the Plaintiff’s operational rate (which is $45.88 per hour).

       3. Step Three. The amount of funds that can reasonably be expected to be necessarily

incurred by the fund administrator as out-of-pocket expenses in administering the Victims'

Compensation Fund should be calculated as follows:

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       The estimated total number of Victims (as calculated in Step One above) is multiplied by

the amount that the Plaintiff can be expected to incur in out-of-pocket costs in identifying and

compensating each identified Victim (which is $1,000).

       4. Step Four. The total amount of the Victims' Compensation Fund is the amount

determined by adding the results of Step One, Step Two and Step Three, as set forth above.

Applying the underlying principles, as described above, and the applicable figures, as set forth

above, the Victims’ Compensation Fund should be established in an amount to be determined

after all applicable figures are acquired from the Defendants through discovery in order to

compensate identified and as-of-yet unidentified victims.




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